            Case 1:21-cr-00327-RC Document 24 Filed 04/27/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                                §
                                                §
 VS.                                            §       CAUSE NO. 21-MJ-236
                                                §
 LUKE RUSSELL COFFEE                            §


                                               ORDER

       Having read the Defendant's Unopposed Motion of Continuance For Initial Appearance, it

is hereby ORDERED that the Motion is GRANTED.

       The Initial Appearance scheduled for April 27, 2021 is continued to 1:00 p.m. on May 11,

2021 before Magistrate Judge Robin M. Meriweather.

       As the Motion did not raise any arguments as to exclusion of time under the Speedy Trial

Act, the Court declines to enter any ruling on that issue.

                                                                         G. Michael
                                                                         Harvey
                                                                         2021.04.27
                                                                         22:59:13 -04'00'
                                                     HONORABLE JUDGE G. MICHAEL HARVEY
                                                     UNITED STATES MAGISTRATE JUDGE
